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 4
     Attorney for: JESUS JAVIER HUILTRON SANCHEZ
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,       )                  No. CR-S-05-0443 W BS
                                     )
10                  Plaintiff,       )                  STIPULATION AND ORDER
                                     )                  CONTINUING STATUS
11                                   )                  CONFERENCE AND FINDING
                                     )                  OF EXCLUDABLE TIME
12        vs.                        )
                                     )
13   JESUS JAVIER HUILTRON SANCHEZ,  )
     ESPIRIDION VALDOVINOS LUCATERO, )
14   FRANCISCO PEREZ LUCATERO, and,  )
     NARCISCO GALLEGOS MORALES,      )
15                                   )
                    Defendants.      )
16                                   )

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           Defendants, JESUS JAVIER HUILTRON SANCHEZ, ESPIRIDION
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     VALDOVINOS LUCATERO, FRANCISCO PEREZ LUCATERO, and, NARCISCO
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     GALLEGOS MORALES, through their attorneys, PETER KMETO, ROBERT
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     FORKNER, PERCY MARTINEZ and, DANIEL BRODERICK, respectively, and the
21
     United States of America, through its counsel of record, SAMUEL W ONG, stipulate
22
     and agree to the following:
23
           1. The presently scheduled date of May 24, 2006 for Status Conference
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           Hearing shall be vacated and said Status Conference Hearing be
25
           rescheduled for June 21, 2006 at 9:00 a.m..
26
           2. Draft Plea Agreements have been distributed to all parties and the
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           defendants and their lawyers require further time in order to discuss the
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 1        terms of the agreements with their Spanish speaking clients and make

 2        whatever amendments to the those agreements which will be necessary.

 3        3. SAMUEL W ONG, AUSA has recently substituted in as counsel for the

 4        government and negotiations must be concluded with him;

 5        4. Debriefings need to be conducted with all defendants to help determine

 6        safety valve eligibility;

 7        5. The Court may exclude Speedy Trial time pursuant to 18 U.S.C. §

 8        3161(h)(8)(A) and (B)(iv), (Local Code T-4), for defense counsel’s review of

 9        recently provided Draft Plea Agreements with each client and conduct further

10        settlement discussions with the government.

11   IT IS SO STIPULATED.

12   Dated:   May 22, 2006                       /s/
                                                SAMUEL W ONG
13                                              Assistant U.S. Attorney
                                                for the Government
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15

16   Dated: May 22, 2006                         /s/
                                                PETER KMETO
17                                              Attorney for Defendant
                                                JESUS JAVIER HUILTRON SANCHEZ
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     Dated: May 22, 2006                        /s/
21                                              ROBERT FORKNER
                                                Attorney for Defendant
22                                              ESPIRIDION VALDOVINOS
                                                LUCATERO
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25   Dated: May 22, 2006                        /s/
                                                PERCY MARTINEZ
26                                              Attorney for Defendant
                                                FRANCISCO PEREZ LUCATERO
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        Case 2:05-cr-00443-WBS Document 37 Filed 05/24/06 Page 3 of 3
 1
     Dated: May 22, 2006                            /s/
 2                                                  DANIEL BRODERICK
                                                    Attorney for Defendant
 3                                                  NARCISCO GALLEGOS MORALES

 4

 5
                                              ORDER
 6
                  UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is
 7
     ordered that the Status Conference be continued as set forth above.
 8
                  The Court finds that the ends of justice to be served by granting a
 9
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
10
     The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv),
11
     (Local Code T-4) from the date of the stipulation until and including June 21, 2006
12
     to permit allow defense counsel time to advise their Spanish speaking clients of the
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     ramification of the propose plea offers and allow newly appointed government
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     counsel and defense counsel to conclude settlement negotiations.
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     DATED: May 23, 2006
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